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 4                                UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6                                                  ***
 7     UNITED STATES OF AMERICA,                               Case No. 2:13-cr-00352-GMN-PAL
 8                                          Plaintiff,                        ORDER
              v.
 9                                                                (Mot. Suppress – Dkt. #34)
       JOHN ORTEGA and KEITH ALCOS,                               (Mot. Suppress – Dkt. #35)
10
                                         Defendants.
11

12            Before the court is Defendants John Ortega and Keith Alcos’ Motions to Suppress (Dkt.
13     ##34, 35) filed April 25, 2014. The parties stipulated to an extension for the government to
14     respond to the motions, indicating they were attempting to negotiate this case, which would
15     result in withdrawal of the motion. Defendants pled guilty on August 4, 2014, but no withdrawal
16     has been filed. Accordingly,
17            IT IS ORDERED that the Motions to Suppress (Dkt. ##34, 35) are deemed
18     WITHDRAWN.
19            DATED this 25th day of August, 2014.
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                                                             PEGGY A. LEEN
22                                                           UNITED STATES MAGISTRATE JUDGE
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